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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal! Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA
Vv.

DALE JEREMIAH SHALVEY,

also known as “DJ”,

TARA AILEEN STOTTLEMYER,

also known as “TARA ATLEEN
SHALVEY”, and
KATHARINE HALLOCK MORRISON,
also known as “KATE”,

Defendants.

CRIMINAL NO. 21-CR-334-TJK
GRAND JURY ORIGINAL

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting Certain Officers or
Employees)

18 U.S.C. § 1512(c)(2) and 2

(Obstruction of an Official Proceeding)

18 U.S.C. § 661

(Theft of Personal Property Within Special
Maritime and Territorial Jurisdiction)

18 U.S.C. § 1001(a)(2)

(False Statements)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § §104(e)(2)(A)

(Entering and Remaining on the Floor of ©
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § §104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, DALE JEREMIAH
SHALVEY, AKA “DJ”, committed and attempted to commit an act to obstruct, impede, and
interfere with a law enforcement officer lawfully engaged in the lawful performance of his official
duties incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia, DALE JEREMIAH
SHALVEY AKA “DJ”, did forcibly assault, resist, oppose, impede, intimidate, and interfere with,
an officer and employce of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, while such person was engaged in and on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the
intent to commit another felony. |

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, within the District of Columbia and elsewhere, DALE
JEREMIAH SHALVEY, AKA “DJ”, TARA AILEEN STOTTLEMYER AKA “TARA
AILEEN SHALVEY”, and KATHARINE HALLOCK MORRISON AKA “KATE”

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, a
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proceeding before Congress, specifically, Congress’s certification of the Electoral College vote as
set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c}{2) and 2)

OUNT FOUR
On or about January 6, 2021, within the District of Columbia, and within the special
maritime and territorial jurisdiction of the United States, that is, the United States Capitol, DALE
JEREMIAH SHALVEY, AKA “DJ” did take and carry away, with intent to steal and purloin,
the personal property of another, that is, a letter from Senator Mitt Romney to Vice-President
Michael Pence.

(Theft of Personal Property Within Special Maritime and Territorial Jurisdiction, in
violation of Title 18, United States Code, Section 661)

COUNT FIVE

On or about March 9, 2021, within the District of Columbia and elsewhere, DALE
JEREMIAH SHALVEY, AKA “DJ”, did willfully and knowingly make materially false,
fictitious, and fraudulent statements and representations in a matter within the jurisdiction of the
executive branch of the Government of the United States, by stating and representing, in an
interview with a special agent from the Federal Bureau of Investigation and an officer with the
United States Capito! Police, that he was not aware of any assault on police officers that occurred
on January 6, 2021. The statements and representations were false because, as DALE
JEREMIAH SHALVEY, AKA “DJ” then and there knew, he assaulted an officer on January 6,
2021 in the District of Columbia.

(False Statements, in violation of Title 18, United States Code, Section 1001(a)(2))
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COUNT SIX

On or about March 9, 2021, within the District of Columbia and elsewhere, DALE
JEREMIAH SHALVEY, AKA “DJ”, did willfully and knowingly make materially false,
fictitious, and fraudulent statements and representations in a matter within the jurisdiction of the
executive branch of the Government of the United States, by stating and representing, in an
interview with a special agent from the Federal Bureau of Investigation and an officer with the
United States Capitol Police, that he was not part of any violent act on January 6, 2021. The
statements and representations were false because, as DALE JEREMIAH SHALVEY, AKA
“DJ” then and there knew, he assaulted an officer on January 6, 2021 in the District of Columbia.

(False Statements, in violation of Title 18, United States Code, Section 1001(a)(2))

COUNT SEVEN |

On or about January 6, 2021, within the District of Columbia, DALE
JEREMIAH SHALVEY AKA “DJ”, TARA AILEEN STOTTLEMYER AKA
“TARA AILEEN SHALVEY”, and KATHARINE HALLOCK MORRISON AKA
“KATE”, did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, without lawful authority to do so. |

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT EIGHT

 

On or about January 6, 2021, within the District of Columbia, DALE
JEREMIAH SHALVEY AKA “DJ", TARA AILEEN STOTTLEMYER AKA
“TARA AILEEN SHALVEY”, and KATHARINE HALLOCK MORRISON AKA
“KATE”, did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official
 

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functions, engage in disorderly and disruptive conduct in and within such proximity to, a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capito! and its grounds, where the Vice President was temporarily visiting, when
and so that such conduct did in fact impede and disrupt the orderly conduct of Government
business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a}(2))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, DALE JEREMIAH
SHALVEY AKA “DJ”, TARA AILEEN STOTTLEMYER AKA “TARA AILEEN
SHALVEY”, and KATHARINE HALLOCK MORRISON AKA “KATE”, willfully and
knowingly entered and remained on the floor of a House of Congress and in any cloakroom
and lobby adjacent to that floor, without authorization to do so.

(Entering and Remaining on the Floor of Congress, in violation of Title 40, United
States Code, Section 5104(e}{2)(A))

COUNT TEN

On or about January 6, 2021, within the District of Columbia, DALE
JEREMIAH SHALVEY AKA “DJ”, TARA “AILEEN STOTTLEMYER AKA
“TARA AILEEN SHALVEY”, and KATHARINE HALLOCK MORRISON AKA
“KATE”, willfully and knowingly engaged in disorderly and disruptive conduct within the
United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of
Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.
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@isorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2}(D))
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COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, DALE JEREMIAH
SHALVEY AKA “DJ”, TARA AILEEN STOTTLEMYER AKA “TARA AILEEN
SHALVEY”, and KATHARINE HALLOCK MORRISON AKA “KATE”, willfully and
knowingly paraded, demonstrated, and picketed in any United States Capito! Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

df fps Crate, ifaw “FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
